           Case 2:19-cv-01002-RAJ Document 9 Filed 09/09/19 Page 1 of 1




 1                                                     THE HONORABLE RICHARD A. JONES

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 8                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 9                                             AT SEATTLE

10                                                   No. 2:19-cv-01002-RAJ
   SCANNING TECHNOLOGIES
11 INNOVATIONS, LLC                                  REQUEST FOR ENTRY OF DEFAULT

12                      Plaintiff,                   Noting date: 9/9/19

13          v.

14 SMARTOSC US LLC

15                      Defendant.

16 To: Clerk of Court

17
            Plaintiff Scanning Technologies Innovations, LLC, hereby requests entry of default pursuant
18 to Federal Rule of Civil Procedure 55(a) against Defendant Smartosc US, LLC for failure to file an

19 answer or other responsive pleading within the time limit set forth in the Federal Rules. The instant

20 request is supported by the Declaration of Nicholas Ranallo submitted concurrently herewith.

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     Respectfully Submitted this 9th day of September, 2019
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23

24 /s/ Nicholas Ranallo____________________________

25 Nicholas Ranallo, Attorney at Law
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26
   Seattle, WA 98118
27 nick@ranallolawoffice.com

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                        REQUEST FOR ENTRY OF DEFAULT – Case No. 2:19-cv-01002-RAJ
